Case No. 1:19-cv-02443-RM-STV Document 1-4 filed 08/28/19 USDC Colorado pg1of9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Jun Li, Qi Qin, Yi Liu, ie Yang,

Yuquan Ni, Li Fang, Zhongzao Shi,
Fang Sheng, Shunli Shao, Kaiyuan Wu,
Zhijian Wu, Zhongwei Li, Yuwel Dong,

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) No.
Plaintiffs, )
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v. )
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)
Colorado Regional Center Project )
Solaris LLLP, )
Colorado Regional Center I, LLC, )
Solaris Property Owner LLC, and )
Peter Knobel, )
Defendants. )
DECLARATION OF PLAINTIFF

lam a named Plaintiff in this lawsuit and an investor in Colorado Regional Center Project
Solaris LLLP, and | declare as follows:

1. [heard about this project through a broker who put me in touch with the Colorado

Regional Center.
2. {don’t know how much money the broker got from the Colorado Regional Center.
3. | paid a $50,000 administrative fee but | don’t know where that money went.

4. linvested in this project from China when my English was not very good, so | could not

fully understand the paperwork.

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Case No. 1:19-cv-02443-RM-STV Document 1-4 filed 08/28/19 USDC Colorado pg 2 of9

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| relied on the broker and on the LLLP and the Colorado Regional Center, but | feel that
the deal was not properly explained to me.

| assumed that all 160 investors were making an $80 million loan that was 5 years at 5%
interest and that it would be paid back by the borrower after 5 years, then the lender
(the LLLP) would pay back the investors. That’s how | would get back my $500,000.

| did not understand that ‘nonrecourse’ means that the borrower didn’t have to pay all
the money back, | thought it meant that the borrower had to pay back all $80 million
but could do it with property instead of cash. | didn’t know they could just walk away.
Such a thing is unthinkable for a lender to allow.

| was given some document that listed 19 condominium units but | wasn’t sure what it
meant; | thought that the loan was secured by all 79 of the borrower's units. It was only
later that we learned that the collateral was only 19 units. All the investors were
confused about why only 19 units.

| did not understand what it meant that the borrower could use the loan money as
“equity.”

1 don’t understand why | have to sign some “put option” to get on a list of investors
who might get back some money.

| feel deceived and confused, as if | have been robbed of my money.
| believe that the Colorado Regional Center will get paid its fees, and the borrower of
the loan got $80 million for turning over about $40 million in property, but that the total

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Case No. 1:19-cv-02443-RM-STV Document 1-4 filed 08/28/19 USDC Colorado pg3of9

13. | believe this transaction was set up to hurt the investors because they did not speak
English well and they were easy to-be tricked.

14. | understand that some investments go down in value because of markets, but it should
not be structured so that the builder makes money, the regional center makes money,
and the only one who loses is who put the real money into this project.

15. The builder got $80 million in cash and turned over $40 million in units, and the regional
center put in zero cash and gets 2% each year, but the investors are the ones who lose
money. That makes no sense. We took the risk, they didn’t: but we lost and they won.

16. Until we hired a lawyer and a valuation expert in 2019, we could not untangle how badly
this deal was structured, and that what a terrible position the Colorado Regional Center,

acting with the borrower SPO and Mr. Knobel, had put us In.

Dated: August 27, 2019
English Name:
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Case No. 1:19-cv-02443-RM-STV Document 1-4 filed 08/28/19 USDC Colorado pg 4of9

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Colorado Regional Center 1, LLC,

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Case No. 1:19-cv-02443-RM-STV Document 1-4 filed 08/28/19 USDC Colorado pg /7of9

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